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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION


UNITED STATES OF AMERICA,                                                              Plaintiff,

v.                                                        Criminal Action No. 3:17-cr-128-DJH

BRENT RICHARDSON,                                                                    Defendant.

                                            * * * * *

                      MEMORANDUM OF CONFERENCE AND ORDER

       A telephonic status conference was held in this matter on September 7, 2021, with the

following counsel participating:

       For the United States:         Joshua Judd

       For Defendant:                 Aaron Dyke

The defendant’s probation officer was on the call.      The Court and counsel discussed the

procedural posture of the case. Based on the discussion during the conference, and the Court

being otherwise sufficiently advised, it is hereby

       ORDERED that this matter is set for a telephonic status conference on October 5, 2021,

at 10:30 a.m. Counsel shall connect to the telephonic status conference by dialing the toll-free

number 1-877-402-9753 and entering access code 9073187#.

         September 7, 2021




Court Time: 00/05
Court Reporter: Dena Legg




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